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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 22-20389-CR-ALTMAN

   UNITED STATES OF AMERICA,

                Plaintiff,
   v.

   JULIAN JIMENEZ,

                Defendant.
                                     /

        ORDER ON DEFENDANT’S MOTION TO FILE UNDER SEAL

           THIS CAUSE came before the Court upon the defendant’s Motion to

   Seal and being fully advised in the premises, it is

           ORDERED and ADJUDGED that the motion to file document under

   seal is GRANTED. The exhibits filed at D.E. 225 shall be sealed for 10 years

   and then unsealed and destroyed by the clerk.

           DONE AND ORDERED at Miami, Florida this _______ day of August,

   2023.



                             ___________________________________________
                             ROY K. ALTMAN
                             UNITED STATES DISTRICT COURT JUDGE
